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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      Case No. 22-CR-38 (BAH)
       v.                                    :
                                             :
JOLENE EICHER,                               :
                                             :
                Defendant.                   :

  GOVERNMENT’S RESPONSE TO THE COURT’S MAY 17, 2023 MINUTE ORDER

       The United States of America respectfully submits this response to the Court’s Minute

Order “DIRECTING the parties to file[] . . . the stipulation agreed to by the parties[,]” Minute

Order (May 17, 2023). In the Joint Pretrial Statement, the parties jointly submitted that they had

“agreed to one of the [government’s] proposed stipulations” and “submit[ted] that they w[ould]

continue discussing possible stipulations relating to the trial and working toward agreement where

possible.” ECF No. 59 at 4. On May 17, 2023, however, defense counsel advised the government

that the defendant is not willing to agree to any proposed stipulations except for a physical

description of the Capitol.


                                                    Respectfully submitted,

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                                                    United States Attorney
                                                    D.C. Bar Number 481052

                                             By:    /s/ Christopher Brunwin
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